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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF DELAWARE

KATHERINE FINGER,                                )
                                                 )
                      Plaintiff,                 )       Case No. 1:22-cv-00287-RGA
                                                 )
           v.                                    )
                                                 )
LAWSON PRODUCTS, INC., MICHAEL G.                )
DECATA, ANDREW H. ALBERT, I.                     )       JURY TRIAL DEMANDED
STEVEN EDELSON, LEE S. HILLMAN, J.               )
BRYAN KING, MARK F. MOON, and                    )
BIANCA A. RHODES,                                )
                                                 )
                      Defendants.                )
                                                 )

                         PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL

       PLEASE TAKE NOTICE that, pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i),

plaintiff voluntarily dismisses the claims in the above-captioned action (the “Action”). Defendants

have neither served an answer or a motion for summary judgment in the Action.

 Dated: April 28, 2022                               LONG LAW, LLC

                                            By: /s/ Brian D. Long
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